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UNITED STATES DISTRICT COURT
WESTERN DISTRIC'I` OF MICHIGAN
SOUTHERN DIVISION

 

CINDY GAMRAT,
Plaintiff,
v.

KEI'I`H ALLARD; in his individual capacity;
BENJAMIN GRAHAM; in his individual capacity;
JOSHUA CLINE; in his individual capacity;
JOSEPH GAMRAT; MICHIGAN HOUSE OF
REPRESENTATIVES; KEVIN G. COTTER, in
his is individual capacity; TIM L. BOWLIN, in his
individual capacity; BROCK SWARTZLE in his
individual capacity; NORM SAARI, in his
individual capacity; EDWARD McBROOl\/f, in his
individual capacity; HASSAN BEYDOUN, in his
individual capacity; DAVID HORR; and
VINCENT KRELL,

Case No. l:l6-cv-1094

HON. GORDON J, QUIST

Plaigtiff’s Motion for Leave to File
Sunnieme!_ital Brief with Newlv-

Acguired Evidence

 

Defendants.
Ty|er E. Osburn (P77829) Gary Gordon (P26290)
Schenk Boncher & Rypma Jasc)n T. Hanseiman (P6]8!3)
Attomeys for Defendant Cindy Gamrat Dykema Gossett PLLC
601 Three Mile Road NW Attorneys for Def`enclants Michigan House of
Grand Rapids, Ml 49544 Representatives, McBroom, Bowlin, Cotter,
616~647-8277 Swartzle, and Beydoun

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Graham

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EXPEDITED CONSIDERATION REQUESTED

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Plaintiff Cindy Garnrat, by and through her attorneys Schenk, Boncber & Rypma, hereby
brings this Motion for Leave to File Supplementai Brief vvith Newly-Acquired Evidence.

Ganrrat also requests that this Court grant her request for expedited consideration, as the
evidence was uncovered recently and the hearing in this matter is scheduled for March 5, 2018.
'i`herefore, the relief requested in this motion Will be rendered moot before it is briefed in
accordance with the briefing schedules set forth in the Federal Rules of Civil Procedure and the
Local Rules of Practice and Procedure in the United States District Court for the Western District
of Michigan.

Pursuant to W.D. Mich. Local Rule 7.1(d), on February 21, 2018, the undersigned sent an
emaii to counsei for the Defendants Whose motions to dismiss are currently pending in this Court
requesting concurrence in this motion Said concurrence Was granted by attorney Sarah Riley
Howard on behalf of her clients, Dcfendants Allard and Graham, but attorneys Gary Gordon and
Cameron Evans would not grant concurrence on behaif of their respective clients.

For the reasons set forth more clearly in the attached brief in support, Garnrat respectfully
requests that this Court grant her Motion for Leave to Fiie Supplennental Brief With Newfy~
Acquired Evidence, accept the supplemental brief for filing and consideration before the hearing
on Defendants’ motions to dismiss, and ultimately deny Defendants’ motions at the hearing on
March 5, 2018.

Respectfuliy Subrnitted,

SCHENK, BONCHER & RYPMA

Dated: February 22, 2018 By: /s/ Tyler E. Osburn
Tyler E. Osburn (P77829)
Attorney for Plaintiff
601 Three Miie Roacl NW
Grand Rapids, MI 49544
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